              Case 4:22-cv-01587-JSW Document 88-2 Filed 07/11/23 Page 1 of 2




 1   DAVID CHIU, State Bar #189542
     City Attorney
 2   LAUREN E. WOOD, State Bar #280096
     ADAM M. SHAPIRO, State Bar #267429
 3   Deputy City Attorneys
     City Hall, Room 234
 4   1 Dr. Carlton B. Goodlett Place
     San Francisco, California 94102-5408
 5   Telephone: (415) 554-4261 (Wood)
                    (415) 554-3830 (Shapiro)
 6   Facsimile:     (415) 554-4699
     E-Mail:        lauren.wood@sfcityatty.org
 7                  adam.shapiro@sfcityatty.org

 8   Attorneys for Defendant
     CITY AND COUNTY OF SAN FRANCISCO
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11                                     UNITED STATES DISTRICT COURT

12                                   NORTHERN DISTRICT OF CALIFORNIA

13
      SELINA KEENE, MELODY FOUNTILA,                         Case No. 4:22-cv-01587-JSW
14    MARK MCCLURE,
                                                             [PROPOSED] ORDER GRANTING
15            Plaintiffs,                                    ADMINISTRATIVE MOTION TO CONSIDER
                                                             WHETHER CASES SHOULD BE RELATED
16            vs.
                                                             (Civil L.R. 3-12(b) and 7-11)
17    CITY and COUNTY OF SAN FRANCISCO;
      LONDON BREED, Mayor of San Francisco in                Judge:                Hon. Jeffrey S. White
18    her official capacity; CAROL ISEN, Human
      Resources Director, City and County of San             Trial Date:           None set.
19    Francisco, in her official capacity; DOES 1-
      100,
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              Defendants.
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      [Proposed] Order Granting Admin. Mtn to Relate Cases                           n:\labor\li2022\220836\01689312.docx
      CASE NO. 22-cv-01587-JSW
              Case 4:22-cv-01587-JSW Document 88-2 Filed 07/11/23 Page 2 of 2




 1                                            RELATED CASE ORDER

 2           Pursuant to Civil Local Rules 3-12 and 7-11, the City and County of San Francisco has filed

 3   an Administrative Motion to Consider Whether Cases Should Be Related, urging that Rodriguez v.

 4   City and County of San Francisco, N.D. Cal. Case No. 3:23-cv-03139 (the “Rodriguez Action”) and

 5   Yancey v. London Breed, et al., N.D. Cal. Case No. 4:22-cv-09045-DMR (the “Yancey Action”) be

 6   related to Selina Keene, et al. v. City and County of San Francisco, et al., United States District Court

 7   Case No. 4:22-cv-01587-JSW (“Keene”) and the other seven related actions challenging the City and

 8   County of San Francisco’ COVID-19 vaccination policy: Gozum v. City and County of San Francisco,

 9   No. 4:22-cv-03975-JSW (the “Gozum Action”); Guardado, et al. v. City and County of San Francisco,

10   No. 4:22-cv-04319-JSW (the “Guardado Action”); Shaheed, et al. v. City and County of San

11   Francisco, No. 4:22-cv-06013-JSW (the “Shaheed Action”); Debrunner, et al. v. City and County of

12   San Francisco, et al. (Debrunner Action), No. 4:22-cv-07455-JSW; Cook v. City and County of San

13   Francisco, No. 4:22-cv-07645-JSW (the “Cook Action”); Sanders v. San Francisco Public Library,

14   No. 23-cv-00211-JSW (the “Sanders Action”); and Monegas v. City and County of San Francisco

15   Department of Public Health (the “Monegas Action”) (collectively “Related Vaccine Actions”).

16           The Court finds that the Rodriguez and Yancey Actions, the Keene Action, and the Related

17   Vaccine Actions are RELATED as defined by Rule 3-12. The Clerk of the Court is ordered to

18   reassign the later filed Rodriguez and Yancey Actions, to the Honorable Jeffrey S. White.

19           Counsel are instructed that all future filings are to bear the initials JSW immediately after the

20   case number. All matters presently scheduled for hearing in the reassigned case – including

21   specifically any pending Initial Case Management Conference and deadlines associated therewith –

22   are vacated and must be re-noticed for hearing before the undersigned.

23           IT IS SO ORDERED.

24

25   DATED:
                                                      The Honorable Jeffrey S. White
26                                                    United States District Judge
27

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      [Proposed] Order Granting Admin. Mtn to Relate Cases                             n:\labor\li2022\220836\01689312.docx
      CASE NO. 22-cv-01587-JSW
